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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

Shane Sligar,                                   )
                                                )
                Plaintiff,                      )       ORDER EXTENDING PRETRIAL
                                                )       DEADLINES AND SCHEDULING
       vs.                                      )       STATUS CONFERENCE
                                                )
DCT Energy Services, LLC; Petro                 )
Harvester Operating Company, LLC;               )
Emergency Site Protection, LLC; D&J             )
Properties, LLC d/b/a D&J Consulting;           )       Case No. 1:20-cv-058
Ben Tohm; Wombat Consulting, Inc.;              )
and Nathan Weathers,                            )
                                                )
                Defendants.                     )


       The court held a mid-discovery status conference with the parties by telephone on October

20, 2021. Pursuant the parties’ discussions, the court shall modify the pretrial deadlines as follows:

       1.       The parties shall have until February 1, 2022, to complete fact discovery and to

                file discovery motions.

       2.       The parties shall provide names of expert witnesses and complete reports under

                Rule 26(a)(2) as follows:

                        a.      Plaintiff’s expert disclosures are due by March 1, 2022; and

                        b.      Defendants’ expert disclosures are due by April 1, 2022.

                Treating physicians need not prepare reports, only qualifications, unless they will

                express opinions not reflected in the medical records. Reports will be served on

                other parties, but not filed with the court.

Additionally, the court shall schedule a status conference with the parties by telephone on December

17, 2021, at 11:00 AM. To participate in this conference, the parties shall call the following number

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and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

The parties are advised that telephone conferences may be electronically recorded for the

convenience of the court.

       IT IS SO ORDERED.

       Dated this 20th day of October, 2021.
                                            /s/ Clare R. Hochhalter
                                            Clare R. Hochhalter, Magistrate Judge
                                            United States District Court




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